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          IN THE UNITED STATES DISTRICT COURT

              WESTERN DISTRICT OF MICHIGAN


CHRISTOPHER CAMPOS, 868973

         Petitioner,

-v.-                                    Case No. 1:18-cv-1096

GREG SKIPPER, Warden,                   HON. GORDON J. QUIST
Michigan Reformatory,                   MAG. RAY S. KENT

        Respondent.
_____________________________________/


         PETITIONER'S REPLY TO RESPONDENT'S
        ANSWER TO PETITION FOR HABEAS CORPUS


         Petitioner CHRISTOPHER CAMPOS, by and through his

attorneys James S. Lawrence, replies to the Respondent's Answer

to Petition for Habeas Corpus and says:

         1.   Counsel for Respondent begins with an

"introduction" and statement of facts (R. Br. 1; Page ID #213)

that states that Petitioner Zacharko committed the crimes,

including that petitioner committed “penetration,” a matter

contested in the appeals and in this Petition for Habeas Corpus.

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Respondent's pleading states that Petitioner did this and that,

instead of saying that witness X testified that Petitioner did

certain acts. In fact, no witness testified that Petitioner

committed sexual penetration. Thus, Respondent attempts to

bypass this Court's judgment and replace it with its own, hoping

that this Court will overlook the failure to cite to the record in

presenting Respondent's version of "facts."

         2.   Counsel for Respondent correctly quotes from the

Michigan Court of Appeals opinion (R. Ans. 4-5, Page ID ##216-

217). Respondent argues, "The State opposes any factual

assertions made by Campos that are not directly supported by—

or consistent with—the state court record," (R. Br. 6, Page ID

#218), but does not mention any.

         3.   Petitioner denies the implication of Respondent’s

statement (R. Br. 8, Page ID #220) that “The trial court denied

the motion for relief from judgment under Mich. Ct. R.

6.508(D)(3) and on the merits.” The implication is that the trial

court’s citation to the court rule is something other than a ruling

on the merits, to imply that the trial court made a finding of

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procedural default against petitioner, and enforced a procedural

bar against petitioner. A mention of MCR 6.508(D)(3) is not a

ruling of procedural default, and is not an enforcement of a

procedural bar, as discussed more fully below. See especially

Harris v. Reed, 489 U.S. 255; 109 S.Ct. 1038; 103 L.Ed.2d 308

(1989); Guilmette v Howes, 624 F.3d 286 (en banc, 6th Cir. 2010);

People v. Jackson, 465 Mich. 390 (2001).

         4.   Respondent’s claim of a state court

enforcement of a procedural bar. The determinative case is

Harris v. Reed, 489 U.S. 255; 109 S.Ct. 1038; 103 L.Ed.2d 308

(1989). In Harris v. Reed, the Illinois Supreme Court mentioned

that there was a procedural default, then went on to discuss the

issues anyway. The United States Supreme Court held that

when the state court reaches the merits of the issue, the fact that

they also mentioned a procedural default does not prevent

Habeas Corpus review. There is no preclusion of federal court

review when the state court rules upon the merits of the issues

despite the arguable or undisputed presence of a procedural

default. In accord see Ulster County Court v. Allen, 442 U.S. 140;

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99 S.Ct. 2213; 60 L.Ed.2d 777 (1979); Bowling v. Parker, 344 F.3d

487, 499 (6th Cir. 2003); Abela v. Martin, 380 F.3d 915, 921 (6th

Cir. 2004). Any Habeas Corpus court ruling that would fail to

apply this rule would overrule Harris v. Reed, which we submit to

be beyond the legitimate power of either the District Court or the

Court of Appeals. As the Court held in Harris: “unless the state

court clearly expressed its reliance on an adequate and

independent state-law ground, this Court may address a federal

issue considered by the state court.”

          5.   In its 5 page ruling denying the Motion for Relief

from Judgment, the state trial court used all of them to discuss

the merits of the issues. Its conclusion was “Based on the

foregoing, defendant has not shown any valid grounds for relief

from judgment. He has not met his burden under MCR

6.508(D).” However, the state trial court ruling does not mention

procedural bar or procedural default, and addresses every issue

on the merits. Respondent’s claim that the state court invoked a

procedural bar is frivolous, not supported at all by the state court

record.

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           6.   In Guilmette v Howes, 624 F.3d 286 (en banc, 6th

Cir. 2010), the Sixth Circuit ruled that when the Michigan Court

of Appeals and Michigan Supreme Court use the standard order

denying leave to appeal in Motion for Relief from Judgment cases,

the federal court must look at the Circuit Court ruling to

determine whether the state court invoked a procedural bar.

They also held that a state court reference to MCR 6.508(D)(3) is

not automatically an invocation or enforcement of a procedural

default.

           7.   The rule of Harris v. Reed was followed in

Harrington v Richter, 562 US 86, 99; 131 S Ct 770, 784–85; 178 L

Ed 2d 624 (2011):

      “When a federal claim has been presented to a state court
      and the state court has denied relief, it may be presumed
      that the state court adjudicated the claim on the merits
      in the absence of any indication or state-law procedural
      principles to the contrary. Cf. Harris v. Reed, 489 U.S.
      255, 265, 109 S.Ct. 1038, 103 L.Ed.2d 308 (1989)
      (presumption of a merits determination when it is
      unclear whether a decision appearing to rest on federal
      grounds was decided on another basis).”

This standard was used against a Habeas Corpus petitioner in

Davis v. Johnson, 661 Fed. Appx. 869 (2016), where the petitioner

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wanted a finding of no state court ruling on the merits, and the

court invoked a presumption that a state court ruling is a ruling

on the merits. “Although this is only a presumption, it is

nevertheless a strong one that may be rebutted only in unusual

circumstances.” (Citing to Johnson v. Williams, 568 U.S. 289

(2013).) In other words, where a petitioner wants a state court

ruling not to be on the merits (for purposes of getting de novo

review), the petitioner is routinely told that there is a

presumption that there was a ruling on the merits, a

presumption that may be rebutted “only in unusual

circumstances.” No reported case says that a different standard

is to be used when it is the State that wishes a finding that there

was no ruling on the merits, and removing this presumption for

the Respondent, as Respondent wishes, would be unreasonable.

         8.   MCR 6.508(D) permits rejection of an issue on the

ground of lack of prejudice. As discussed in Guilmette v. Howes,

the same rule also expressly allows waiver of procedural default

by the trial court. Where the court does not clearly choose

between a decision on the merits (including lack of prejudice) and

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dismissal for procedural default, there has not been the “clear”

invocation of procedural default that the case law demands for

the federal court to dismiss for procedural default. Here, the case

for petitioner is even stronger, in that the state trial court does

not even purport to enforce a procedural bar.

         9.   In Amos v. Renico, 683 F.3d 720, 733 (6th Cir. 2012),

the Court held that “a procedural rule must be “clearly and

expressly invoked” to operate as a bar to habeas review.”

Because the trial court in Petitioner Amos’s case reached the

merits of every issue in addition to discussing procedural default,

the federal courts reached the merits of the issues.

         10. In Baze v. Parker, 371 F.3d 310 (6th Cir. 2004), the

ruling again rejects Respondent’s position by stating, at 320:

    If a state court does not expressly rely on a procedural
    deficiency, then a federal court may conduct habeas
    review. Caldwell v. Mississippi, 472 U.S. 320, 327, 105
    S.Ct. 2633, 86 L.Ed.2d 231 (1985); Bowling v. Parker, 344
    F.3d 487, 499 (6th Cir.2003) (proceeding to consideration
    of the merits of petitioner's claims because the Kentucky
    Supreme Court reviewed the ineffective assistance of
    counsel claims on the merits, in spite of a procedural bar
    to review, and therefore the reliance on procedural default
    was not “unambiguous”)

         11. On many occasions a trial court has mentioned Rule
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6.508(D)(3) without actually enforcing a procedural default to bar

consideration of claims. A trial court could mention the rule

without applying it, and a finding of no actual prejudice does not

provide a procedural bar. One such case is Guilmette v Howes

itself, where a discussion of this court rule by the trial court did

not amount to invoking a procedural bar because such an

invocation requires clear language to support it. Another such

case is People v. Jackson, 465 Mich. 390 (2001), where a denial by

the trial court under MCR 6.508(D)(3) was held to be a denial on

the merits. In other words, the Michigan courts will cite M.C.R.

6.508(D(3) when denying in both those cases where a procedural

default was present and invoked, and in those cases where the

issues are heard on their merits, but the court is not persuaded

by the argument.

         12. Issue I. There was insufficient evidence to

convict of first degree criminal sexual conduct where

there was no evidence of penetration. Contrary to

Respondent’s position, the state trial court ruled on the merits,

and did not state it was invoking or enforcing any sort of

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procedural default. In fact, the trial court did not expressly find

any procedural default at all.

         13. The complaining witness, a minor, hereafter known

as A.C., testified that the Defendant tried to penetrate her anally

and vaginally, but did not. (T II, 99, 103). Her mother testified

that she never complained of a "sore butt." (T III, 43). The

examining physician, Dr. Frederick, found that there was no

injury to the anal or vaginal area. He found no physical evidence

of sexual abuse. (T II, 158). There were no fissures or tears. (T

II, 161). All of the witness's descriptions, both in court and out of

court, involve trying, not actual penetration. (T II, 72, 84, 85, 98,

103). She testified that she understood the difference between

actually penetrating and trying to penetrate. (T II, 81).

         14. Neither the testimony of the complainant nor the

physician nor the mother provides any basis to show that there

was any penetration. There was no testimony of an actual

penetration of the either opening. There was no testimony of a

tongue touching a vagina. Therefore, there is no proof beyond a

reasonable doubt of anal or vaginal penetration, or cunnilingus.

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The clear words of the statute make the actions testified to by the

complainant touching, not penetration, which makes for 2d

degree criminal sexual conduct, not first degree.

         15. Respondent’s claim that the jurors’ “common sense

and experiences” (R. Br. 28) can make up for a lack of actual

evidence is not reasonable. Respondent has not cited a single

word of testimony that says there was penetration. It is

understandable that jurors would be outraged by the testimony of

Petitioner’s conduct. This outrage is no substitute for evidence

that the outrageous conduct included penetration.

         16. Petitioner concedes that there was a state court

finding of penetration. Petitioner submits that state court

finding was unreasonable because not supported by sufficient

evidence, or by any evidence. Respondent wishes to use a

presumption of guilt that is contrary to law.

         17. Issue II. The court failed to properly ensure

that defendant knowingly, voluntarily and intelligently

waived the right to testify. Contrary to Respondent’s claim,

the state trial court did not apply a procedural bar to petitioner’s

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issue, and ruled on the merits. See paragraphs 4-11, supra.

Moreover, this issue was raised in the appeal of right. The ruling

of the Michigan Court of Appeals does not use the words

“procedural,” “default,” or bar. Respondent alleges a state court

finding of procedural default, and a state court enforcement of

procedural default to bar consideration of an issue, but has not

established either one,

         18. While it may be true that, ““there is no requirement

in Michigan that there be an on-the-record waiver of a

defendant's right to testify.” People v Harris, 190 Mich App 652,

661 (1991)” (R. Br. 31; Page ID #243), that does not begin to

answer the questions of federal law that were raised and

exhausted in the state courts.

         19. Respondent concedes that a waiver of the right to

testify must be a knowing and intelligent waiver. (R. Br. 32;

Page ID #244). Petitioner was not informed of the right to testify,

but the case was closed before petitioner had an opportunity to

assert or waive the right. The attorney closed the case without

giving petitioner the opportunity to declare that he did or did not

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want to testify. There was never any variety of waiver, must less

one that was clearly expressed. Waiver of a federal

constitutional right cannot be implied from a silent record,

Johnson v Zerbst, 304 US 458; 58 S Ct 1019; 82 L Ed 1461 (1938),

but that is exactly what the trial court did and Respondent seeks

to do. Respondent does not mention or even try to distinguish

Johnson v. Zerbst. The “courts indulge every reasonable

presumption against waiver of fundamental constitutional rights”

and the courts "do not presume acquiescence in the loss of

fundamental rights." Johnson v Zerbst. Respondent attempts to

invoke the very presumption that the United States Supreme

Court has rejected.

         20. Respondent also does not mention or distinguish the

cases that clearly support petitioner’s position, including Montejo

v Louisiana, 556 U.S. 778 (2009), Moran v. Burbine, 475 U.S. 412,

421, 106 S.Ct. 1135, 89 L.Ed.2d 410 (1986), and Halbert v

Michigan, 545 US 605 (2005). In Rock v Arkansas, 483 US 44;

107 S Ct 2704; 97 L Ed 2d 37 (1987), the Supreme Court held

that the right to testify is a fundamental right, so fundamental

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that it cannot be waived by counsel alone. Instead, Respondent

cites a Court of Appeals case, United States v. Webber, 208 F.3d

545, 550–51 (6th Cir. 2000), that holds the waiver is “presumed.”

A Court of Appeals case cannot overrule even one United States

Supreme Court case, much less the mass of United States

Supreme Court cases holding there can be no such presumption.

Moreover the United States Supreme Court ruling in Iowa v.

Tovar, 541 U.S. 77, 88 (2004) shows that Webber can no longer be

considered good law.

         21. Respondent claims, “Here, any error was harmless

because Campos’s self-serving testimony would not have made

any difference.” (R. Br. 37; Page ID #239). The right to testify is

a structural right not subject to harmless error analysis. Brecht

v. Abrahamson, 507 U.S. 619; 113 S.Ct. 1710; 123 L.Ed.2d 353

(1993). Even if 1000 witnesses testified there was penetration,

petitioner still should have had the right to testify protected, or a

valid waiver issued. Here there was not even 1 such witness.

The speculation that the jury was certain to find penetration no

matter what testimony might be given by petitioner is just that:

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speculation. Given that there was no testimony of penetration at

all, that assumption is unreasonable. Moreover, the state trial

court did not find that any error would be harmless, so there is no

such ruling to give deference to.

         22. Issue III. The prosecutor improperly relied

on denigration of defense counsel with remarks about

the upsetting nature of the cross-examination of the

complainant, and by adding to the complainant's

testimony in closing. Contrary to Respondent’s claim, the

state trial court did not apply a procedural bar to petitioner’s

issue, and ruled on the merits. See paragraphs 4-11, supra.

         23. Respondent argues (R. Br. 42, Page ID #254): “In

Darden [Darden v. Wainwright, 477 U.S. 168 (1986)] the

Supreme Court held that a “prosecutor’s improper comments will

be held to violate the Constitution only if they ‘so infected the

trial with unfairness as to make the resulting conviction a denial

of due process.’” That is exactly what happened here. With zero

testimony of penetration, the prosecutor kept saying that there

was penetration, which led the jury to a finding not supported by

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the evidence. The prosecutor’s misconduct of stretching the

evidence to make it appear to say what it clearly did not say was

outcome-determinative. The prosecutor’s misconduct of

demonizing the constitutional right of cross-examination was

plainly prejudicial. The state court did find to the contrary, but

as shown in the brief in support of Petition for Habeas Corpus,

those findings were an unreasonable application of federal law.

         24. Issue IV. Petitioner was prejudiced by

ineffective assistance of counsel. Counsel failed to make a

Motion to Quash the charge of first degree criminal sexual

conduct even though there was no evidence of penetration.

Counsel failed to object to the improper prosecutor conduct

complained of in Issue III. No reasonable attorney would have

argued to the jury that the evidence was insufficient, without also

arguing it in a motion to the judge. No reasonable attorney

would have failed to object to the prosecutor arguing improper

conduct by defense counsel when there was none, or failure to

object to the prosecutor adding in critical "information" that did

not come from the witnesses. There was further ineffective

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assistance of counsel by failure to move for a mistrial after

witness Bonnie Skornia gave opinions about the accuracy and

reliability of what she was told by A.C., and by stating A.C.'s

alleged out of court statements. Respondent says that after

Skornia’s lengthy (inadmissible) testimony, defense counsel at

long last objected. (R. Br. 56-57; Page ID ##268-269). While that

is correct, the objection was too long delayed to avoid the

prejudice, and did not include a request to strike the testimony or

for mistrial.

         25. Respondent did not speak at all to the

unreasonableness of the state court’s actions in refusing to hold

an evidentiary hearing on ineffective assistance of counsel. The

failure to hold the evidentiary hearing was unreasonable because

it prevented judicial inquiry into the issue. Cullen v. Pinholster,

131 S.Ct. 1388 (2011).

         26. Issue V. Petitioner was prejudiced by

ineffective assistance of appellate counsel. Respondent

did not present argument on this issue, therefore, they have

abandoned any response to the issue. Sommer v. Davis, 317 F.3d

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686, 691 (6th Cir. 2003). Petitioner relies on the briefed issue in

the brief in support of Petition for Habeas Corpus, which stands

unrebutted.

         26. Other Matters. Petitioner has not requested bond

or oral argument or discovery, therefore, Respondent’s plea to

reject such requests (R. Br. 60; Page ID #272) is irrelevant.

Respondent’s discussion of a Certificate of Appealability is

premature, in that petitioner has not lost on the Petition for

Habeas Corpus, nor has the District Court made any rulings on

Certificate of Appealability.



                         RELIEF SOUGHT

         Wherefore, Petitioner moves this Court to grant the relief

sought in the Petition for Habeas Corpus.



                                Respectfully submitted,

                                  /s/ James Sterling Lawrence
                                ___________________________________
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                              Dated: 5-10-2019

                   CERTIFICATE OF SERVICE


         James S. Lawrence, attorney for Petitioner, certifies that

on 5-10-2019 he served this Reply upon Hon. Gordon J. Quist,

Hon. Ray Kent, and attorney for Respondent Scott Shimkus,

using this Court's ECF filing system.

                              Respectfully submitted,

                                /s/ James Sterling Lawrence
                              ___________________________________
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                              Dated: 5-10-2019




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